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U.S. v. Britton Felony Adult Defendant Crmg?in'a?‘é§de| J §".M f aid

 

 

 

 

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51 18 PAR_K Prior Attnrney's Name:
MEMPHIS TN 381 17 7 Appninlment Datl':

 

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J Bel:anse the above-named person represented lies testified under oth nr has

,-ot er\»vise satisfied this courl that he or she (l) is financially unable tn employ counsel and

Te|ephene Numher: (2} does not wish to waive counsel‘ and because the interests ofjustice so require, the

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14. ;\ AME AND MAILlNC ADDRESS OF LA\V FIRM (nnly provide per instructions) :r o y me lump appears m gm ls appnm e‘“ n represm n person m nm cme

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Signatnre of Presiding .ludicia| Oli`n:er or By Order ol'lhe (,`ourt

 

 

 

 

         

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 
       

 

 

 

 

 

 

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l')ute nl'Order Nunc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for this s ervil:e at
time ot`eppnintment. I:] YES \:\ NO
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(Rate per hour = S ) TOTALS:
|6. a. interviews and Conl'crences
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ll" OTHER THAN CASE COMPLETIDN
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22. CL.AIM STATUS E Final Paymt‘nt [:\ interim Paymem Number _ [:] Supp|emental Payment
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Otl\er than from tlle court, have ynu. or toyour knowledge hat anyone else, received payment (compensation or anything or vaiue] from any other source in connection with tllis
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[ swear or al`l'lrm the truth or correctness ofthe above statements.
Signature ofAttorney: Date:
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23. lN C()URT COMP. 24. OUT OF COURT COMP. 25. TRAVF.L EXPENSES 26. OTHER EXPENSES 27. 'I`OTAL AMT. APPR fCERT
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34. SlGNATl_.JRE OF CHIEF JUDGE, COURT OF APP l-`IALS (OR DELEGATE) Pa_vment DATF§ 34a. .IUDCE CODE
approved in excess nfthe statutory threshold amount.

 

 

 

 

 

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UNITED sATE DSTIIC COURT - WESTERN DISTRCT OFTENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

